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7                           UNITED STATES DISTRICT COURT
8                         SOUTHERN DISTRICT OF CALIFORNIA
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10   MILA IRAKUNDA,                                      Case No. 20cv1870-MMA (BGS)
11                                     Petitioner,
                                                         ORDER GRANTING MOTION TO
12   v.                                                  PROCEED IN FORMA PAUPERIS
13   B. CATES, Acting Warden, et al.,
                                                         [Doc. No. 2]
14                                  Respondents.
15
16          On September 21, 2020, Petitioner filed a Petition for a Writ of Habeas Corpus
17   pursuant to 28 U.S.C. § 2254 along with a motion to proceed in forma pauperis. See Doc.
18   Nos. 1, 2. Petitioner has $0.02 on account at the California correctional institution in
19   which he is presently confined, see Doc. No. 2 at 7, and cannot afford the $5.00 filing
20   fee. Accordingly, the Court GRANTS Petitioner’s motion to proceed in forma pauperis
21   and allows him to prosecute the above-referenced action without being required to prepay
22   fees or costs and without being required to post security. The Court DIRECTS the Clerk
23   of the Court to file the Petition for Writ of Habeas Corpus without prepayment of the
24   filing fee.
25          IT IS SO ORDERED.
26   DATE: September 25, 2020               _______________________________________
                                            HON. MICHAEL M. ANELLO
27                                          United States District Judge
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